Case 1:03-cv-OlO34-.]DT-STA Document 33 Filed 05/06/05 Page 1 of 3 Page|D 31

ge
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF 'I'ENNESSEE
EASTERN DIVISION

 

SHELTER INSURANCE CON[PANIES, :

 

 

PLAlNTlFF, :
V. - No. 1-03-1034 T-An /
,_/`/
f
BILLY Jos GRISWELL D/B/A //
GRISWELL BU[LI)lNG AND SALE . ,'
and GUIDEoNE TAYLOR BALL : /
CONSTRUC'HON sERVICES, INC., . /
: /'
DEFENDANTS. : /
f
j
MOTION To ALTER 0R AMEND
PLEADINGS AND RE(z)RDS
_/
Comes now Terry Abernathy, Attomey of record/l`or Billy Joe Griswell, dfb/ a Griswell Building
f

/

and Sale, in the cause as styled and numbered above/and respectli.illy moves that all pleadings and any

other records and documents be amended in th ollowing particulars, to wit'.

  
   
  
 

, certain pleadings and perhaps other records and documents

That, by inadvertence/mista
signed attorney is also one of the attorneys of record for Billy Joe

incorrectly reflect that the un
Griswell in the cause style Guideone Taylor Ball Construction Services. Inc.. v. RiclgLHurt` et ali No_

03-1034.

That, he undersigned does not represent Billy Joe Griswell, d/b/a Billy G

Company, n the caused styled Guideone Ta lor Ball Constructions Services Inc. E_. `
EQ,Q promote the efficient administration ofjustice, the
LS

No. 03-1 34, MOILQN: BM-[
DATE:
‘I'hls document entered on the docket sh:z; in compliance /b

M with nine 5a ana'or,rs m FncP on

James D. Todd
U.S. District Judga

Case 1:03-cv-OlO34-.]DT-STA Document 33 Filed 05/06/05 Page 2 of 3 Page|D 32
undersigned would respectfully move that any pleadings, documents or record in this cause, or any
pleadings, documents or record in the cause styled Guideone Taylor Ball Construction Services, lnc.l
v. Ricl_cy Hu;.tl et al, No. 03-1034, be altered or amended to properly reflect that the undersigned
represents Billy Joe Griswell only in Cause No. 1-03-1034 T-An.

3.
The undersigned attorney would certify that he has not consulted with the other involved
attorneys, but has no reason to believe that anyone involved in these matters of litigation would have any

reason to object or to otherwise oppose this ministerial/administrative relief sought

\a c v W;H~€T
TERRY 008542

Attomey for De dant, Billy Joe Griswell dfb/a
Griswell Building and Sale

P.O. Box 441

Selmer1 TN 383 75

731-645-6163

 

CERTIFICATE OF SERVICE

I hereby certify that a true and exact copy of the foregoing MOTION TO ALTER OR AMEND
PLEADINGS AND RECORDS was this day served upon counsel for each of the parties by mailing
same to:

Mr. William M. Jeter Mr. Stephen Craig Kennedy
Attomey at Law Attomey at Law

35 Union Ave, Suite 300 P.O. Box 647

Memphis, Tennessee 38103 Selmer, Tennessee 38375

Mr. John S. Little
Attomey at Law

P.O. Box 726

lackson, Tennessee 38302

Thisthe 2 dayof fklgz ,2005.

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TE RN HY

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 1:03-CV-01034 was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

